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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-20337-CR-ALTONAGA

  UNITED STATES OF AMERICA

  vs.

  ANTWAN LENARD JOHNSON,

                    Defendant.
  _______________________________/

  GOVERNMENT MOTION IN LIMINE TO EXCLUDE DJJ-OIG & MIAMI-DADE SAO
     INVESTIGATIVE REPORTS, MEMORANDUMS, FINDINGS, ANALYSES &
                            CONCLUSIONS

         The United States of America, by and through the undersigned Assistant United States

  Attorney, hereby respectfully moves in limine for a pre-trial order excluding prior Florida

  Department of Juvenile Justice Office of Inspector General (“DJJ-OIG”) and Miami-Dade State

  Attorney’s Office (“Miami-Dade SAO”) investigative reports, memorandums, findings, analyses,

  and conclusions.1    Because these matters are irrelevant, unduly prejudicial, and inadmissible

  hearsay, they should be excluded under FRE 401-403 and 801-802.

  I.     PROCEDURAL & FACTUAL BACKGROUND
         On or about August 28, 2015, E.R., a seventeen (17) year-old male, arrived at the for the

  Miami-Dade Regional Juvenile Detention Center (hereinafter “the JDC”) and was assigned to

  Module 9 (“Mod 9”) as a pre-trial detainee.2 On August 30, 2015, Defendant Johnson, a JDC

  employee since 2007, was assigned to work the 3-11 p.m. shift in Mod 9 as the lead juvenile


         1
           For purposes of Local Rule 88.9, the Government has conferred with Defendant
  Johnson’s counsel, who oppose the instant motion. However, the parties have agreed to again
  confer and attempt to resolve the matter prior to any motions hearing date.
         2
             The JDC was operated by the Florida Department of Juvenile Justice (“DJJ”).

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  detention officer (“JDO”). In the early evening, at Defendant Johnson’s direction and under his

  supervision, numerous Mod 9 detainees viciously assaulted victim E.R. On or about August 31,

  2015, at approximately 11:17 p.m., E.R. was pronounced deceased as a result of injuries suffered

  during the attack.

         On or about April 30, 2018, Defendant Johnson was charged in a two-count Indictment

  (DE 3). Counts 1 charges him with conspiracy to violate E.R.’s civil rights, under color of law,

  which resulted in E.R.’s death, in violation of 18 U.S.C. § 241. Count 2 charges him with

  deprivation of E.R.’s civil rights, under color of law, which resulted in bodily injury to E.R. and

  E.R.’s death, in violation of 18 U.S.C. § 242 (id.). Trial is now scheduled for April 15, 2019 (DE

  50).

  II.    PRIOR DJJ OIG & MIAMI-DADE SAO INVESTIGATIONS

         A.         DJJ-OIG Investigation Regarding JDC Bounty Culture
         Following E.R.’s death, the DJJ-OIG initiated an investigation into JDC bounty culture

  allegations. This investigation included reviews of JDC reports and records and interviews with

  approximately 23 individuals, which included parents, reporters, JDC employees, and JDC
               3
  detainees.       This DJJ-OIG investigation not only included E.R.’s death, but other incidents and

  allegations.

         On or about January 11, 2016, the DJJ-OIG issued a 14-page report (IG #15-0087)

  detailing its findings. Citing a lack of witness and documentary corroboration, the DJJ-OIG

  concluded that “there was insufficient evidence to support or refute the allegation.”




         3
            Only one (1) Mod 9 detainee was interviewed pursuant to the DJJ-OIG bounty-culture
  investigation.

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         B.     DJJ-OIG Investigation Regarding E.R.’s Death
         The DJJ-OIG also initiated a more narrow investigation into the circumstances

  surrounding E.R’s death.    This investigation focused on allegations involving: JDC policy

  violations; improper supervision of the Mod 9 detainees by JDOs, including Defendant Johnson

  and JDC supervisors; medical neglect pertaining to E.R. after the attack; and improper conduct

  by JDC employees and supervisors regarding E.R.’s medical care at the JDC after the attack.

  The investigation included reviews of various JDC reports, records and video footage. It also

  involved interviews of various JDC employees, including Defendant Johnson, but did not include

  any interviews with the Mod 9 detainees.

         On or about April 4, 2016, the DJJ-OIG issued a 66-page report (IG #15-0079) detailing

  its findings. As a result of this investigation, Defendant Johnson remained employed at the JDC.

         C.     Miami-Dade SAO Homicide Investigation Regarding E.R.’s Death
         On or about September 1, 2015, the Miami-Dade SAO, working with the Miami-Dade

  Police Department (“MDPD”), initiated a criminal investigation into E.R.’s beating and death.

  The Miami-Dade SAO investigation included, among other matters: 1) interviews with the 19

  remaining Mod 9 detainees,4 Defendant Johnson, and other JDC employees; 2) reviews of JDC

  reports and records; 3) reviews of medical and autopsy records; and 4) reviews of JDC video

  footage.



         4
            The Mod 9 detainee interviews were all conducted at the JDC on the day after E.R.’s
  death: September 1, 2015. Certain Mod 9 detainees declined to speak and invoked Miranda,
  others waived Miranda but provided vague, limited details about the attack. Only one (1)
  detainee, interviewed at approximately 8:15 p.m., informed MDPD detectives that Defendant
  Johnson directed the attack on E.R. However, MDPD detectives did not ask this detainee any
  additional questions about Defendant Johnson’s involvement, nor did they attempt to re-
  interview any other Mod 9 detainee at the JDC about Defendant Johnson’s role. Instead, ten (10)
  days later, MDPD detectives conducted a cursory follow-up interview with Defendant Johnson,
  cited the Mod 9 detainee by name, and asked Defendant Johnson about the allegation. Not
  surprisingly, Defendant Johnson denied it.
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         On or about January 19, 2017, the Miami-Dade SAO issued a 14-page memorandum

  detailing its decision, based on insufficient evidence, to not pursue charges against any of the

  Mod 19 detainees or JDC employees, including Defendant Johnson. The charges that the

  Miami-Dade SAO contemplated were: 1) Aggravated Manslaughter on Person Less than 18

  years old (FLA. STAT. § 782.07(3)); 2) First Degree Premeditated Murder (FLA. STAT. §

  782.04(1)); 3) Second Degree Murder (FLA. STAT. § 782.04(2)); 4) Third Degree Murder (FLA.

  STAT. § 782.04(4)); 5) Battery on a Detainee (FLA. STAT. § 782.082); and 6) Felony Battery

  (FLA. STAT. § 782.041). Citing witness concerns, poor JDC record keeping and video footage,

  and possible identification and medical causation issues, the Miami-Dade SAO concluded that

  there was insufficient evidence to charge anyone with the above-listed crimes.

         D.      Miami-Dade SAO Investigation Regarding JDC Bounty Culture
         Following E.R.’s death, and ensuing media coverage throughout 2015, the Miami-Dade

  SAO also initiated an investigation into JDC bounty culture allegations. This investigation

  included reviews of earlier DJJ-OIG findings and involved interviews of approximately 36

  current and former JDC detainees, including various other JDC employees and witnesses.5 The

  investigation not only included E.R.’s death, but other incidents and allegations.

         On or about January 23, 2017, the Miami-Dade SAO issued a 6-page memorandum

  detailing its decision, based on insufficient evidence, not to pursue charges against anyone

  employed at the JDC, including Defendant Johnson. Based on the sheer number and similarity

  of JDC bounty culture allegations, the Miami-Dade SAO noted that the evidence “seems to

  suggest that some JDC staff members likely engaged in the practice of offering honey buns or

  other food as a reward to youth detainees to carry out physical attacks as a means of punishment


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         The same (1) Mod 9 detainee was interviewed in both the DJJ-OIG and Miami-Dade
  SAO bounty-culture investigations.
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  for exhibiting unruly or offense behavior.” However, citing witness and corroboration concerns

  and burden of proof issues, the Miami-Dade SAO concluded that the JDC bounty culture

  allegations in general, including those directly relating to E.R.’s death, could not be proved

  beyond a reasonable doubt.

  III.   LAW & ARGUMENT
         Relevant evidence is evidence having any tendency to make the existence of a

  consequential fact more probable or less probable. See FED. R. EVID. 401. To be relevant: “(1)

  [t]he evidence must be probative of the proposition it is offered to prove, and (2) the proposition

  to be proved must be one that is of consequence to the determination of the action.” United

  States v. Glasser, 773 F.2d 1553, 1559 n.4 (11th Cir. 1985).          Upon failure to meet these

  relevancy requirements, Federal Rule of Evidence 402 deems the evidence “irrelevant” and “not

  admissible.” FED. R. EVID. 402. Federal Rule of Evidence 403 further provides that relevant

  evidence may be excluded “if its probative value is substantially outweighed by a danger of . . .

  unfair prejudice, confusion of the issues, misleading the jury, undue delay, wasting time, or

  needlessly presenting cumulative evidence.” FED. R. EVID. 403. “Exclusion for risk of unfair

  prejudice, confusion of issues, misleading the jury, or waste of time, all find ample support in the

  authorities.” Id., Advisory Committee Notes on 1972 Proposed Rules.

         “A judge and jury would face difficulties if forced to navigate through a record muddled

  between intersecting and partially overlapping pieces of evidence presented during the

  investigation and the trial, submitted under differing evidentiary standards.” Lewis v. City of

  Chicago Police Dep’t, 590 F.3d 427, 442 (7th Cir. 2009) (upholding district court’s exclusion of

  evidence relating to prior EEOC and city internal investigations under FRE 403); see also, In re

  650 Fifth Ave. & Related Props., 2017 U.S. Dist. LEXIS 75891, at *74-75 (S.D.N.Y., May 17,


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  2017) (excluding evidence that defendants were previously subject to various investigations that

  did not result in criminal charges as irrelevant and unduly prejudicial under FRE 401-403);

  Cmtys. for Equity v. Mich. High Sch. Ath. Ass’n., 137 F. Supp. 2d 910, 913-14 (W.D. Mich.

  Apr. 6, 2001) (excluding records, testimony, and information relating to various, prior

  investigations, with differing factual and legal bases, as irrelevant under FRE 401-402).

         Compared to the Miami-Dade SAO and DJJ-OIG investigations, the Government’s

  federal civil rights investigation regarding Defendant Johnson was conducted in a substantially

  different manner, uncovered and examined new and different evidence, and pertained to differing

  statutes and elements. Testimony and evidence relating to the Miami-SAO’s decision to not

  pursue charges against Defendant Johnson or the JDC bounty culture, including its legal and

  factual analyses in reaching its conclusions, is wholly irrelevant to the instant case and should be

  excluded under FRE 401-403. Likewise, testimony and evidence relating to the DJJ-OIG’s

  investigative findings, including its legal and factual analyses in reaching its conclusions,

  regarding the JDC bounty culture and the circumstances surrounding E.R.’s death are irrelevant

  and should excluded under FRE 401-403. Any Miami-Dade SAO and DJJ-OIG written reports

  and memorandums are also inadmissible hearsay under FRE 801-802.6

         The Miami-Dade SAO and DJJ-OIG investigations did not exculpate Defendant Johnson.

  Nonetheless, courts have held that even prior acquittals, stemming from the same facts, are

  irrelevant to a different subsequent trial. See United States v. Kerley, 643 F.2d 299, 300-01 (5th

  Cir. 1981) (affirming exclusion of defendant’s prior state court acquittal on battery charges

  arising from the same incident as federal § 242 prosecution as irrelevant and hearsay); see also

  United States v. Howard, No. 09-11386, 373 F. App’x 21, 24-25 (11th Cir. 2010) (unpub. op.)



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             Understandably, prior statements made by witnesses during these investigations might
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  (discussing Kerley and holding evidence of a previous acquittal irrelevant and inadmissible, even

  where the prior trial involved some of the same government witnesses); United States v.

  Sogbein, No. CR-12-00054-JSW, 2014 U.S. Dist. LEXIS 200215 (N.D. Cal. May 27, 2014)

  (noting that “evidence relating to prior investigations did not demonstrate that [defendant] was

  ‘cleared’ of fraudulent conduct. Rather, that evidence showed only that fraud could not be

  substantiated and, thus, had minimal probative value”).

         When examining evidence under FRE 403, “a district court may consider the amount of

  time it would have taken the parties to present the evidence, how the evidence would affect the

  focus of the trial, and whether it would have ‘diverted the jury’s attention from the real issue in

  the case.’” United States v. Colwell, No. 04-10789, 140 Fed. Appx. 64, 72 (11th Cir. 2006)

  (unpub. op.) (quoting United States v. Gilliard, 133 F.3d 809, 815-16 (11th Cir. 1998)). Any

  admission of evidence and testimony regarding Miami-Dade SAO and DJJ-OIG investigative

  findings and conclusions would invite what FRE 403 was designed to prevent. The Government

  would need to utilize numerous trial witnesses, and hours of the jury’s time, proving and

  explaining any errors, oversights, and missteps in the Miami-Dade SAO and DJJ-OIG

  investigations or how other aspects are immaterial to the charged federal crimes. In essence, the

  Government’s case-in-chief would be forced include four (4) different mini-trials about each

  Miami-Dade SAO and DJJ-OIG investigation and their analyses and findings.               Defendant

  Johnson is on trial, not the Miami-Dade SAO or DJJ-OIG investigations.

         Any potential probative value of this evidence is clearly substantially outweighed by

  dangers of confusing the trial issues, wasting time, misleading the jury, and undue delay. It

  should all be excluded under FRE 403. See, e.g., Howard, 373 F. App’x at 25 (affirming



  be grounds for impeachments pursuant to applicable evidentiary rules.
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  inadmissibility of evidence of prior acquittal under FRE 401 and 403); United States v. Irwin,

  787 F.2d 1506, 1517 (11th Cir. 1986) (exclusion of evidence of prior acquittals of alleged co-

  conspirators was properly excluded under FRE 403); Kerley, 643 F.2d at 300-01 (defendant’s

  prior state court acquittal properly excluded under FRE 403); Lewis, 590 F.3d at 442, In re 650

  Fifth Ave., 2017 U.S. Dist. LEXIS 75891, at *74-75. Additionally, the Miami-Dade SAO and

  DJJ-OIG investigations, including their accompanying reports and memorandums, are

  inadmissible hearsay under FRE 801-802. See United States v. Kendrick, 682 F.3d 974, 986

  (11th Cir. 2012) (“judgments of acquittal are hearsay and do not fall within any exception to the

  rule against the admission of hearsay evidence”); Irwin, 787 F.2d at 1516-17 (affirming district

  court’s exclusion of references to acquittals of alleged co-conspirators in previous civil rights

  trial as inadmissible hearsay).

         WHEREFORE, based on the foregoing, the Government respectfully requests that its

  motion be granted.

                                                      Respectfully submitted,

  ARIANA FAJARDO ORSHAN                               ERIC S. DREIBAND
  UNITED STATES ATTORNEY                              ASSISTANT ATTORNEY GENERAL


  s/ Sean T. McLaughlin                               s/ Samantha Trepel__________
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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on January 4, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.

                                                  s/ Samantha Trepel________________
                                                  SAMANTHA TREPEL
                                                  Trial Attorney

                                                  s/ Sean T. McLaughlin
                                                  SEAN T. McLAUGHLIN
                                                  Assistant United States Attorney




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